Case 9:16-cv-81871-KAM Document 492-10 Entered on FLSD Docket 08/03/2019 Page 1 of 5

Exhibit
G “|”?
Case 9:16-cv-81871-KAM Document 492-10 Entered on FLSD Docket 08/03/2019 Page 2 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

WEST PALM BEACH DIVISION
CASE No. 9:16-cv-81871-KAM

LAN LI, an individual, et al.,

Plaintiffs,
VS.

JOSEPH WALSH, an individual, et al.,

Defendants.
/

DEFENDANT/CROSS-CLAIMANT, KK-PB FINANCIAL, LLC’S
NOTICE OF TAKING DEPOSITIONS OF THE PLAINTIFFS

 

 

Please take notice, pursuant to Rules 26 and 30 Fed. R. Civ. P., and Local Rule
26.1(h), Defendant/Cross-Claimant, KK-PB Financial, LLC (“KK-PB”), gives notice that

KK-PB shall conduct the depositions pursuant to this Notice.

L Deponents:

PLEASE SEE ATTACHED, APPENDIX 1, FOR A FULL LIST OF NAMES. —

Il. Dateand Time: Monday, August 19, 2019 at 10:00 am.

Ii. Location: Phipps Reporting, Inc.
1551 Forum Place — Suite 200E
West Palm Beach, FL 33401

Said depositions shall be taken upon oral examination, before Phipps Reporting, Inc.
Court Reporters. The oral examination shall continue from day to day and is being taken
for purposes of discovery, for use at trial and for any other purpose as permitted under the
Rules.

g-Ifiles\kk-pb financial Ilc.508\9:16-cv-81871-kam\li et al v. walsh et al.\notice to take depositions 070819,doc 1
Case 9:16-cv-81871-KAM Document 492-10 Entered on FLSD Docket 08/03/2019 Page 3 of 5

Appendix 1

LanLi *
Ying Tan

Tao Xiong
Jungiang Feng
Ran Chen
Xiang Shu
Hao Lou
Xiang Chunhua
Kuang Yaoping
10. Bei Zhu

11. Qiong Deng
12. Qiongfang Zhu
13. Zhiling Gan

OP PAAAAWN

14. Cuilian Li
15. Yulong Tang
16. Lili Zhang

17. Shuangyun Wang
18. | Wenhao Zhang
19. ShaShi

20. Yajun Kang

21. Chengyu Gu

22. YanChen

23. Dongsheng Zhu
24. Rujing Wei

25.  Zhaohui Li

26.  Juewei Zhou

27. MinLi

28. Chunning Ye

29. -Hongru Pan

30. Yuanbo Wang
31. Shu Jiang

32. Ying Fei

33. Li Dongsheng
34. Tang Cheok Fai
35. Xiaonan Wang
36. Mohammad Zargar
37.  Shahriar Ebrahimian
38. Reza Siamak Nia

grifiles\kk-pb financial Ilc.$08\9:16-cv-81871-kam\li et al v. walsh et al.\notice to take depositions 070819.doc 2
Case 9:16-cv-81871-KAM Document 492-10

APPENDIX 1 (con’t)

39. Sara Salehin

40. Sanaz Salehin

41. Ali Adampeyra

42. Mohammadreza Sedaghat
43. Halil Erseven

Entered on FLSD Docket 08/03/2019 Page 4 of 5

* EACH DEPOSITION SHALL PROCEED IMMEDIATELY AFTER THE
CONCLUSION OF THE PRIOR DEPOSITION.

g-lfiles\kk-pb financial lIc.508\9:16-cv-81871-kam\li et al v. walsh et al.\notice to take depositions 070819.doc

Respectfully submitted,

/s!_ Larry A. Zink
Larry A. Zink, Esq.
Florida Bar No. 0109592

ZINK, ZINK & ZINK CO., L.P.A.

1198 Hillsboro Mile — Suite 244
Hillsboro Beach, FL 33062

Telephone: (330) 492-2225

Facsimile: (330) 492-3956

Cell Phone: (330) 495-0171

Email: zinklaw3711(@yahoo.com
Counsel for Defendant/Cross-Claimant,
KK-PB Financial, LLC

wee
Case 9:16-cv-81871-KAM Document 492-10 Entered on FLSD Docket 08/03/2019 Page 5of5

CERTIFICATE OF SERVICE

THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the
foregoing document was electronically filed with the Clerk of Court using the CM/ECF
system, on this 9" day of July, 2019, and that the foregoing document is being served this
day on all counsel of record identified on the Service List below, via transmission of
Notices of Electronic Filing generated by CM/ECF.

David J. George, Esq.

Ryan D. Gesten, Esq.

Matthew R. Chiapperini, Esq.

GEORGE GESTEN MCDONALD, PLLC

9897 Lake Worth Road — Suite 302

Lake Worth, FL 33467

Telephone: (561) 232-6002

Facsimile: (888) 421-4173

Email: dgeorge@4-justice.com
rgesten@4-justice.com

mehiapperini(@4-justice.com
Counsel for Plaintiffs

and
Devin Radkay, Esq.
J. Anthony Nelson, Esq.
GUNSTER, YOAKLEY & STEWART, P.A.
777 South Flagler Drive — Suite 500 East
West Palm Beach, FL 33401-6194
Telephone: (561) 655-1980
Facsimile: (561) 655-5677
Email: ksonderling@gunster.com

dradkay@gunster.com
Counsel for Plaintiffs

Notice has also been sent to the email address of counsel of record for all other parties.

!s/_ Larry A. Zink
Larry A. Zink, Esq.
Florida Bar No. 0109592 ‘

g-lfiles\kk-pb financial lc.508\9: 1 6-cv-8187t-kam\li et al v. walsh et al.\notice to take depositions 070819.doc 4
